Case 2:10-cv-02285-LDH-ST Document 247 Filed 09/21/18 Page 1 of 3 PageID #: 12144




                                          September 21, 2018

  The Honorable LaShann DeArcy Hall
  United States District Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

         Re:     Jalayer, et al. v. Stigliano, et al., Civil Action No.: 10-cv-2285

  Dear Judge Hall:

          We are attorneys for Plaintiffs in the above-referenced action, which concerns violations
  of the Comprehensive Environmental Response, Compensation, and Liability Act (“CERLCA”),
  42 U.S.C. § 9607. We write, pursuant to your Honor’s Individual Rules to seek a pre-motion
  conference and leave to move to strike certain expert reports and sections of expert reports served
  in this matter.

          By Magistrate Judge Tomlinson’s scheduling orders (Docket Nos. 210 and 216A), Expert
  Reports for any party utilizing an expert in its case-in-chief were to be served on all parties by
  April 6, 2018, and rebuttal expert reports were to be served by June 11(later extended to June 18)
  2018. On April 6, 2018, only two parties served expert reports for their cases-in-chief – Plaintiff
  and Defendant Stigliano. These reports were attached as Docket Nos. 231-1, 232-2, and 232-6 as
  exhibits to the Rule 56.1 Statement of Defendant North Shore.

          Subsequently, on June 18, 2018, Plaintiffs, LILCO, North Shore, and the Village served
  additional expert reports. These reports were attached as Docket Nos. 231-4, 232-3, 232-4, 232-
  5, as exhibits to the Rule 56.1 Statement of Defendant North Shore. Plaintiffs’ rebuttal expert
  report has not been previously filed, and is attached as Exhibit Q to Plaintiffs Opposition Rule 56.1
  Statement. Plaintiffs’ rebuttal report was limited solely to rebutting contentions made in the Rich
  Report, as was the Village’s expert report (Dkt. No. 232-5). One of LILCO’s reports, that of David
  Thal, was limited to rebuttal of the Plaintiffs’ expert report of Dr. Jack Fox Ph.D. The remaining
  two reports were those of North Shore’s expert, David Klein (231-4), and LILCO’s expert Michael
  Berman (232-4). Much of Mr. Klein’s report was offered in rebuttal to the reports-in-chief of
  Plaintiff and Defendant Stigliano, however the final section, titled “H. Responsibilities of a Land
  Purchaser,” and the accompanying conclusion were not offered in rebuttal to any contrary
  statement in the reports-in-chief.

         The Berman Report contained the following three opinions:

         OPINION 1 – Despite the existence of readily available information regarding the
         presence of historical fill at the Property, Plaintiffs failed to conduct adequate
Case 2:10-cv-02285-LDH-ST Document 247 Filed 09/21/18 Page 2 of 3 PageID #: 12145



                                                                           Hon. LaShann DeArcy Hall
                                                                                  September 21, 2018
                                                                                              Page 2

         preacquisition due diligence necessary to satisfy the requirements of qualifying for
         the innocent landowner defense to CERCLA liability.

         OPINION 2 – A capping remedy at the Property would be typical and appropriate
         to address risks to human health and the environment associated with the alleged
         coal ash fill. Removal and off-site disposal of the alleged coal ash fill material
         constitutes an improvement of the Property that is not necessary to achieve relevant
         remedial action objectives.

         OPINION 3 – In the event that it is determined that coal ash is present at the Site,
         it is important to recognize that coal ash was commonly offered by industrial users
         of coal for reuse as fill material, and widely accepted as an appropriate fill material,
         during the timeframe when coal ash was allegedly placed at the Property

         None of these opinions were offered in rebuttal to any points made in the reports-in-chief.
  Mr. Klein and Mr. Berman were asked this directly at their depositions, and admitted that these
  opinions were not rebuttal opinions. See Deposition Transcript of Michael Klein, Dkt. No. 231-5
  at 71:15 to 72:13. See also Deposition Transcript of Michael Berman, Dkt. No. 231-2 at 35:20-
  38:20, 54:13-55:5, 61:15-62:8, 80:1-9.

          Because the Berman Report in its entirety and the final section of the Klein report were not
  offered in rebuttal to any statement in the reports produced at the deadline for case-in-chief expert
  testimony, they were untimely, and Plaintiffs were deprived of an opportunity to introduce rebuttal
  expert testimony in response to their conclusions.

          Part of the purpose of FRCP 26’s requirement for timely disclosure of expert testimony is
  “to permit the opposing party to prepare rebuttal reports.” Minebea Co., Ltd. v. Papst, 231 F.R.D.
  3 (D.D.C. 2005). A very similar issue was posed in Blake v. Securitas Sec. Services, Inc., 292
  F.R.D. 15 (D.D.C. 2013). There, a party introduced an expert report which it termed a “rebuttal
  expert report,” but because it attempted to “offer previously undisclosed opinions under the guise
  of rebuttal,” it was an “untimely and improperly disclosed initial expert report in violation of Rule
  26(a)(2).” The court therefore held that the party was subject to sanctions under Rule 37(c)(1),
  and that “[T]he overwhelming weight of authority is that preclusion is required and mandatory
  absent some unusual or extenuating circumstances—that is, a substantial justification.” Id at 18-
  19.

          Because LILCO and North Shore’s untimely initial expert reports have deprived Plaintiffs
  of the opportunity to rebut them, they should be stricken. Specifically, Section H and Conclusion
  12 of the Klein Report should be stricken, and the entirety of the Berman Report should be stricken.




                                                    2
Case 2:10-cv-02285-LDH-ST Document 247 Filed 09/21/18 Page 3 of 3 PageID #: 12146



                                                                       Hon. LaShann DeArcy Hall
                                                                              September 21, 2018
                                                                                          Page 3



         Thank you for your time and consideration.

                                             Respectfully submitted,

                                             KNAUF SHAW LLP




                                             ALAN J. KNAUF
  ec: All counsel (via ECF)




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